  Case 18-00273      Doc
          Joji Takada, not 3individually
                                Filed 08/06/18
                                         but as Ch. 7 Entered
                                                      Trustee 08/06/18 15:23:36 Desc Main
                                    Document          Page
          for the Bank Estate of Carhart, Inc. v. Kexin     1 of 4
          Carhart                                              Adv Proc No: 18-00273
                              Plaintiff v Defendant


                                     CERTIFICATE OF SERVICE

      I,     Nathaniel Cade, Jr.     , certify that service of this summons and a copy of the
complaint was made on August 6, 2018 by:

        ✔      Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
               to: Kexin Carhart
                  621 Seaview Court
                  #P2
                  Marco ISalnd, FL 34145

               Personal Service: By leaving the process with the defendant or with an officer or
               agent of defendant at:



               Residence Service: By leaving the process with the following adult at:



               Certified Mail Service on an Insured Depository Institution: By sending the process
               by certified mail addressed to the following officer of the defendant at:



               Publication: The defendant was served as follows: [Describe briefly]



               State Law: The defendant was served pursuant to the laws of the State of
               as follows: [Describe briefly]



        If service was made by personal service, by residence service, or pursuant to state law, I
further certify that I am, and at all times during the service of process was, not less than 18 years of
age and not a party to the matter concerning which service of process was made.

       Under penalty of perjury, I declare that the foregoing is true and correct.

Date        August 6, 2018                            Signature s/Nathaniel Cade, Jr.

       Print Name:          Nathaneil Cade, Jr.
       Business Address: Cade Law Group LLC
                         PO Box 170887
                         Milwaukee, WI 53217
                         (Counsel for Chapter 7 Trustee Joji Takada)
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Tracking Number: 14901159818963894914

Expected Delivery on

MONDAY

6     AUGUST
      2018
                  by
                  8:00pm


     Delivered
August 6, 2018 at 2:33 pm
Delivered, In/At Mailbox
MARCO ISLAND, FL 34145 

Get Updates




  Text & Email Updates


  Tracking History


  August 6, 2018, 2:33 pm
  Delivered, In/At Mailbox
  MARCO ISLAND, FL 34145 
  Your item was delivered in or at the mailbox at 2:33 pm on August 6, 2018 in MARCO ISLAND, FL 34145.



  August 6, 2018, 8:37 am
  Out for Delivery
  MARCO ISLAND, FL 34145 
       Case 18-00273          Doc 3   Filed 08/06/18   Entered 08/06/18 15:23:36   Desc Main
August 6, 2018, 8:27 am                  Document      Page 4 of 4
Sorting Complete
MARCO ISLAND, FL 34145 



August 6, 2018, 7:15 am
Arrived at Post Office
MARCO ISLAND, FL 34145 



August 5, 2018, 8:17 am
Arrived at USPS Regional Facility
FORT MEYERS FL DISTRIBUTION CENTER 



August 4, 2018
In Transit to Next Facility



August 3, 2018, 9:43 pm
Arrived at USPS Regional Facility
OAK CREEK WI DISTRIBUTION CENTER 




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